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                              EXHIBIT D


            Transcript of August 10, 2022, Show Cause Hearing
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 DKT NO:    X06-UWY-CV186046436-S      :   COMPLEX LITIGATION DKT
 ERICA LAFFERTY                        :   JUDICIAL DISTRICT WATERBURY.
 v.                                    :   AT WATERBURY, CONNECTICUT

 ALEX EMRIC JONES                      :   AUGUST 10, 2022
 DKT NO:    X06-UWY-CV186046437-S

 WILLIAM SHERLACH
 v.

 ALEX EMRIC JONES

 DKT NO:    X06-UWY-CV186046438-S

 WILLIAM SHERLACH
 v.
 ALEX EMRIC JONES



           BEFORE THE HONORABLE BARBARA N. BELLIS, JUDGE


 A P P E A R A N C E S :


      Representing the Plaintiff(s):

           ATTORNEY CHRISTOPHER MATTEI



      Representing the Defendant(s):

           ATTORNEY NORMAN PATTIS for Jones Defendants
           ATTORNEY WESLEY MEAD for Norman Pattis
           ATTORNEY BRIAN STAINES for Chief Disciplinary Counsel



                                       Recorded By:
                                       Darlene Orsatti
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                                       400 Grand Street
                                       Waterbury, CT 06702
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1                   THE COURT:     All right.    Good afternoon.     This is

2             Judge Bellis; we are on the record in the show cause

3             hearing for Attorney Pattis in the Lafferty matters.

4             If counsel could please identify themselves for the

5             record.

6                   ATTY. MATTEI:     Good afternoon, your Honor.         This

7             is Chris Mattei on behalf of the plaintiffs.

8                   ATTY. STAINES:     Good afternoon, your Honor.        I

9             am Brian Staines, Chief Disciplinary Counsel.

10                  THE COURT:     Good afternoon.

11                  ATTY. PATTIS:     Norm Pattis, judge.

12                  THE COURT:     Good afternoon.

13                  ATTY. PATTIS:     I think Mr. Mead is on mute.

14                  ATTY. MEAD:     I’m sorry, Judge.     I apologize.

15            Wesley Mead for Mr. Norm Pattis, your Honor.           Good

16            afternoon.

17                  THE COURT:     Good afternoon.     Welcome.   All

18            right.    So let’s take up first the housekeeping

19            matter.     There was an objection to the filming or

20            recording of this civil procedure.         And Practice Book

21            111b controls the burden of proving that electronic

22            coverage should be limited or precluded, is on

23            counsel for Attorney Pattis, who has objected to the

24            coverage.    So you have the floor, Attorney Mead.

25                  ATTY. MEAD:     Judge, my objection is two-fold.

26            One is the issue that I raised is that in most

27            jurisdictions these proceedings are confidential
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1             until a attorney’s deemed to have been – committed a

2             grievable offense in this instance.         And the reason

3             that is judge, is because as I stated in my

4             objection, it exposes attorneys in general, to damage

5             to their reputation and character, which sometimes

6             can’t be restored.

7                   And that’s the one objection I cited, both the

8             New York Statue and the Connecticut – the Connecticut

9             Statute in that regard.       The other issue too judge,

10            is as you know, I’ve requested that the – that these

11            proceedings be adjourned due to my Covid issue.             I

12            certainly don’t – I’m not inclined normally to have

13            my home, you know – part of a livestream.          I was

14            anticipating that the Court would have adjourned this

15            to another date.      It didn’t do so.     So based on both

16            of those reasons I had requested the livestreaming

17            not occur.     And that is my application, judge.

18                  THE CLERK:     You’re muted, your Honor.

19                  THE COURT:     Thank you.    Thank you, Attorney

20            Mead.    So under the Practice Book, the Court has to

21            determine whether the coverage would undermine the

22            legal rights of a party or significantly compromise

23            the safety or a witness, or other interested person,

24            or impact significant privacy concerns.          This is of

25            course different than the normal disciplinary

26            proceeding, where the matter is private until there’s

27            a finding of probable cause.        This obviously is a
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1             show cause hearing that the Court is conducting.

2                   I would also point out that I only learned of

3             this issue by reading headlines.         And I understand

4             that it was a part of a very public trial that was

5             livestreamed.      For those reasons I am going to

6             overrule the objection.       So to the extent that any of

7             the media has logged on, they can now log off and

8             they are permitted to broadcast.

9                   All right.     So I am mindful that you have – some

10            of you have a 3 o’clock bankruptcy conference, and I

11            don’t expect to be long, especially given Attorney

12            Mead’s situation.      So I’ll be as brief as possible.

13            Of course originally this was the show cause hearing,

14            but given Attorney Mead’s situation, I’ll just go

15            through the history and the background, and lay

16            everything out, and then we can pick a date for the

17            show cause hearing.

18                  ATTY. MATTIE:     Your Honor –

19                  THE COURT:     I want to –

20                  ATTY. MATTIE:     Just for clarity’s sake.       The

21            3 o’clock bankruptcy proceeding has been moved to

22            Friday.    So that will not be happening at 3 o’clock

23            today.

24                  THE COURT:     Okay.   Thank you.

25                  So I want this proceeding to be fair and

26            transparent, so I am going to go into considerable

27            detail regarding prior disciplinary issues in this
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1             case.    And the questions that I want addressed in

2             connection with what appears to be improper

3             disclosure of highly protected records.

4                   ATTY. MEAD:     Judge, I apologize.      Before we

5             begin.    I just wanted to preserve my clients right to

6             an objection as to jurisdiction, and ask your Honor

7             just for the record, if I may request a briefing

8             schedule on jurisdiction.       There is a bankruptcy stay

9             in this case.      I’ve done a little research; I don’t

10            believe this Court has jurisdiction.         I saw the show

11            cause notice.      I believe your Honor is – seemed to

12            have carved out an exception, because it allegedly

13            relates to attorney discipline.        However, the issues

14            that your Honor will be having to delve into in order

15            to decide that issue, relate directly to the

16            confidentially order –

17                  THE COURT:     All right.    So, Attorney Mead –

18                  ATTY. MEAD:     - in this case, which is now –

19                  THE COURT:     - I am going to interrupt you.

20                  ATTY. MEAD:     Yes, your Honor.

21                  THE COURT:     And I’m going to ask all counsel to

22            mute their devices.      I see some other devices are not

23            muted, because I am getting some feedback.          This

24            matter is not an issue in the actual lawsuits that

25            are being filed.      So this is not sanctions against

26            the parties.     This issue is between the Court and

27            Attorney Pattis, and next week it will between the
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1             Court and Attorney Reynal.        So certainly Attorney

2             Mead, you can raise whatever issue you think is

3             appropriate.     I’m certainly not going to enter in a

4             briefing schedule.      I know for a fact that the Court

5             always has jurisdiction over the conduct of the

6             attorneys that appear before it.         So I will not delay

7             this.

8                   If by some chance that you happen to be right,

9             which I do not believe in any way, shape, or form, to

10            be the case.     Then my actions of course would be void

11            and not voidable, as is with any bankruptcy

12            proceeding.     But again, just to make it clear.           This

13            issue is between the Court and Attorney Pattis today.

14            It is not any – no parties are being sanctioned here.

15            All right.     But I do note your concern for the

16            record, so…

17                  All right.     So on August 4th 2022, the Court

18            issued an order for Attorney Pattis to show cause as

19            to whether he should be referred to disciplinary

20            authorities or sanctioned by the Court directly, if

21            appropriate, Pursuant to Practice Book Section 245.

22            Regarding the release of medical records of the

23            plaintiff’s, which I understand may include

24            psychiatric records to unauthorized individuals.

25                  And as I said before Attorney Mead, in order to

26            accommodate you, we will schedule the actual show

27            cause hearing for one day next week, hopefully in
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1             person.    And I am pleased to see that you are here

2             appearing for Attorney Pattis, as this is a serious

3             matter.    And I will tell you now, in the interest of

4             candor.    That I do intend to handle this matter

5             directly, rather than making a referral to

6             disciplinary authorities.       And I am also thankful

7             that Attorney Staines, as Chief Disciplinary Counsel,

8             is attending today and will participate in these

9             proceedings.

10                  So I will just state for the record, especially

11            since Attorney Mead is not necessarily familiar with

12            the entire background here.        But the show cause

13            hearing for Attorney Pattis, and the show cause

14            hearing for Attorney Reynal next week, are the third

15            and fourth disciplinary issues involving the Jones

16            defendants defense counsel.        So four disciplinary

17            hearings for three attorneys in the same lawsuit, is

18            unprecedented.     Just one is highly unusual, and here

19            we are now on our third and fourth.

20                  The first disciplinary issue also involved

21            Attorney Pattis.      It involved an affidavit of Alex

22            Jones that was sworn to and filed with the Court by

23            Attorney Pattis.      Where the signature of Mr. Jones on

24            the affidavit was not actually that of Mr. Jones.

25            The local - and the Court, instead of it doing a show

26            cause hearing, as it is now, referred the matter to

27            Disciplinary Counsel.       And I understand Attorney
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1             Pattis to his accredit, also referred the matter

2             himself.

3                   The local grievance panel found probable cause

4             for misconduct, and a public hearing and a public

5             decision followed.      And I am going to read three or

6             four sentences from that public decision.          The

7             respondent, Attorney Pattis, acknowledged that he

8             made a mistake in connection with the execution of

9             the affidavit.     When the respondent realized his err,

10            he immediately corrected it.

11                  We find the respondent credible.         That he made a

12            mistake and had no intent to deceive the Court or

13            opposing counsel.      Notwithstanding, we are critical

14            of the respondents’ level of diligence in researching

15            how to handle an affidavit involving an attorney, in

16            fact, acting under a Texas power of attorney and a

17            Connecticut civil proceeding.        It is the opinion of

18            this reviewing committee, that the respondent’s

19            practice was sloppy with regard to the execution of

20            the affidavit, and that he exercised bad judgment.

21            Further, it was inappropriate not to request the

22            power of attorney document for review.          Finally,

23            since we conclude that the respondent did not violate

24            the rules of professional conduct, we dismissed the

25            complaint.

26                  The second disciplinary matter involved the

27            Jones defendant’s former attorney Jay Wolman.            And
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1              that involved deposition misconduct at the deposition

2              of a former employee of the defendant, Free Speech

3              Systems.    Following a show cause hearing, the Court

4              issued a formal reprimand as to Attorney Wolman, and

5              that reprimand and decision is also a public record.

6              That brings us to the present show cause hearings

7              involving Attorney Pattis, and next week, Attorney

8              Reynal.

9                    So the history is as follows:       On July 6, 2022,

10             Attorney Pattis filed with the Court an application

11             for permission for Attorney Reynal to appear pro hac

12             vice in this matter.      In the application, Attorney

13             Pattis, as is required by our Rules of Practice,

14             agreed to sign all filings with the Court.          Assumed

15             full responsibility for all court filings.          And

16             assumed full responsibility for the conduct of the

17             cause or proceeding, and of Attorney Reynal.          The

18             Court granted the pro hac application on July 22,

19             2022.   But before Attorney Reynal even filed an

20             appearance in the underlying lawsuits, Attorney

21             Reynal was removed from the case by agreement on July

22             26, ‘22, having never filed an appearance in the

23             case.

24                   So that brings us to why we are here.         It

25             appears that the medical and/or psychiatric records

26             of the plaintiff’s in the underlying lawsuits, were

27             recently provided to unauthorized individuals.
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1              Whether it was by Attorney Pattis and/or Attorney

2              Reynal.    Disciplinary counsel is now involved, and I

3              expect to hear evidence at our show cause hearing,

4              relating to who sent the records.        When they were

5              sent.   The level of technological expertise the

6              sender had.    If the staff sent the records, under

7              what attorney’s supervision.       What records were sent.

8              Were they medical and psychiatric records, or other

9              records subject to the Court’s protective order?             I

10             want to know exactly who received the records.              And

11             if that requires testimony from lawyers or others in

12             the Texas case, so be it.

13                   I want to know whether any records were involved

14             that were subject to this Court’s order.          This Court

15             had entered orders regarding confidential records,

16             highly confidential record, and attorney eyes only

17             records.    So I want evidence on what if any of the

18             records were subject to the protective order.          And I

19             am obviously very concerned about the unauthorized

20             release of confidential private records that were

21             protected under the Court’s protective order.          And

22             I’m troubled that medical records that are protected

23             under state and federal law.       And psychiatric or

24             psychological, or counseling records, which enjoy a

25             very high level of protection under the law, might

26             have been improperly released to unauthorized

27             individuals.
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1                    So in short.    With respect to any of the

2              plaintiff’s medical records or other records that

3              were subject to the Courts order, I want to know

4              whether they got sent to unauthorized individuals.

5              How did they get sent?      Who sent them?     When did they

6              get there?    I want the details of the transmissions.

7              I want specifics.     Were electronic files sent?           Were

8              the files named?     Were the actual files sent, or were

9              they converted?     And did they have a Bates number?

10                   And I want to know what steps specifically were

11             taken by Attorney Pattis, or anyone that he was

12             supervising.     Whether it was Attorney Reynal at the

13             period that Attorney Reynal had pro hac status.             Or

14             any attorney’s or office staff, what step – what

15             training they had and what steps were taken to flag

16             confidential or protected materials.

17                   And then importantly, I want to know exactly

18             what steps were taken by Attorney Pattis or anyone

19             that he was supervising, to remedy any improper

20             disclosure, if in fact there was improper disclosure.

21             So not only the transmission of these records, but

22             then what if anything was done to remedy any improper

23             disclosure.    I want to know as well, whether

24             plaintiffs’ counsel in the underlying lawsuit was

25             ever notified of any improper disclosure, if there

26             was an improper disclosure.       I do note that no

27             disclosure was ever made to this Court.         I don’t know
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1              whether the disclosure was ever made to the

2              Bankruptcy Court for the Alex Jones case that was

3              removed to Bankruptcy Court.

4                    All right.    I do want to mark as a court

5              exhibit, Mr. Ferraro, the protective order in the

6              underlying lawsuits, which is entry number 850.             That

7              is the most recent protective order that was granted

8              by the Court.      And I imagine that will be utilized in

9              the show cause proceeding.

10                   So with respect to notice of the specific

11             possible rules of professional conduct violations.

12             The Court is concerned with the possible following

13             violations.    Rule 1.1, competence.      Did Attorney

14             Pattis have the requisite technological knowledge and

15             skill necessary to conduct electronic discovery.             If

16             in fact that was done here.       Rule 3.4(3).     Whether

17             Attorney Pattis knowingly disobeyed an obligation

18             under the rules of the Court with respect to the

19             handling of the plaintiffs’ confidential records.

20             Both in the disclosure of documents to unauthorized

21             individuals.     If that happened.     And then steps that

22             were taken or not taken to remedy any unauthorized

23             disclosure.

24                   Rule 5.1b.    Whether Attorney Pattis, by having

25             supervisory authority over Attorney Reynal, made all

26             reasonable efforts to ensure that Attorney Reynal

27             conformed to the Rules of Professional Conduct.             And
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1              5.1(c)1 and 2.     Whether Attorney Pattis either

2              ratified Attorney Reynal’s conduct, or knew of the

3              conduct, and failed to take any reasonable necessary

4              remedial action.     Or 5.3.    Whether Attorney Pattis

5              bears any responsibility to the extent any

6              non-lawyers were involved in the transmission of the

7              records.    Rule 8.4(4).    Whether Attorney Pattis

8              engaged in any conduct that is prejudicial to the

9              administration of justice.

10                   Basically all of the concerns that the Court has

11             relates to the possible dissemination of the

12             plaintiff’s confidential records.        Whether they were

13             made confidential under the Court’s order in the

14             underlying lawsuits, or whether they were statutorily

15             protected.    At this point I’m not even sure, and we

16             will find out at the hearing, whether Attorney

17             Reynal, who never filed an appearance and was only

18             accorded pro hac status on July 20th, whether it was

19             even permissible under the Court’s order for Attorney

20             Pattis to send the documents to Attorney Reynal.

21             Whether it was intentional to send them to Attorney

22             Reynal, unintentional, and who else they might be –

23             might have been sent to.       I have no idea at this

24             point.

25                   So, these are the Courts’ concerns about

26             possible rules of professional conduct violations.

27             And I hope by giving all these details, that I’ve
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1              sufficiently conveyed to your client, Attorney Mead,

2              how concerned the Court is about the events and the

3              purported release of protected records of the

4              plaintiffs in the underlying lawsuit.         So at this

5              point, unless Attorney Staines or Attorney Mead wants

6              to be heard, we can consult our schedules.          Attorney

7              Mead and Attorney Staines and pick the date for the

8              actual show cause hearing.       And I anticipate a

9              briefing schedule following the close of the show

10             cause hearing when we’re done with any witnesses or

11             evidence.    I will then – we can then come up with a

12             briefing schedule.      All right.    So, I think you gave

13             some dates next week, Attorney Mead, that you were

14             available?

15                   ATTY. MEAD:    Yeah.    Judge, I did.    I gave –

16             before I get into that.       I gave 8/17 and 8/19, I

17             believe next week.      But, as you know, your Honor, in

18             one of these proceedings, the character witnesses are

19             available to be presented to my – on the defense of

20             Mr. Pattis, if necessary.       So I would – I’m going to

21             be checking with potential character witnesses, to

22             see if they’re available on any either those dates.

23                   The other issue, Judge.        Is, I took – you cut

24             out a couple times.      I got most of what you said

25             about the – the alleged disciplinary issues.          As far

26             as your Honors’ orders – with the notice –

27                   THE COURT:    Well, I’m going to just interrupt
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1              you for one second, Attorney Mead, because you

2              actually have been breaking up on and off throughout

3              your conversations.

4                    ATTY. MEAD:    Okay.

5                    THE COURT:    But I will order a transcript of my

6              comments, and I’ll put the transcript in the file,

7              and so you will have that.

8                    ATTY. MEAD:    Okay.

9                    THE COURT:    And I understand that we’re going to

10             pick the date, hopefully one of the dates that you

11             gave next week that fit into your schedule.          And I

12             surely understand that witnesses may or may not be

13             available.    And I don’t necessarily even need to do

14             this one the record.      I don’t have a problem,

15             Attorney Mead, with you and Attorney Staines off the

16             record, speaking with Attorney Ferraro.

17                   But I don’t want this – I want to handle it

18             sooner rather than later.       But certainly I want you

19             both to have time to prepare, since frankly I just

20             laid out all the Courts’ concerns today.          All right.

21             So would you prefer to do that?        Would you prefer

22             Attorney Mead and Attorney Staines to –

23                   ATTY. MEAD:    Yes.    I can consult with Mr.

24             Ferraro and Mr. Mattie, and we can select a date that

25             works for your Honor as well.

26                   THE COURT:    Well, Attorney Mattie, I’m not so

27             worried about.     No offense, Attorney Mattie.       But
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1              he’s not – this is as I keep saying.         This is a show

2              cause hearing between the Court and Attorney Pattis.

3              So really, Attorney Mattie, I’m sure – I shouldn’t

4              say, I’m sure, but may very well be involved as a

5              witness.    But the schedules that I really care about

6              besides Ron’s because Ron needs to be available, is

7              myself, you, and Attorney Staines.        Okay.    So that’s

8              really what I’m looking to do.        So if – unless there

9              are any other issues to address, we can adjourn and –

10                    ATTY. MEAD:   Just – just one, Judge.       If I may?

11             And I hope you can hear me all right now.          I’m trying

12             to speak slowly.     You referenced the State and

13             Federal Statutes in your show cause notice.          Which

14             State and Federal Statutes are you referring to?            So

15             I can properly advise my client.

16                    THE COURT:    I’m not really here to answer those

17             kind of questions.      I put you on notice of what the

18             concerns were and what the practice – Code of

19             Professional Responsibility potential rule violations

20             are.    And I laid out that it looks like medical

21             records.    It could be psychiatrist records,

22             psychological records, counseling records.          I don’t

23             know.    But I am clearly gravely concerned about what

24             I had to hear in headlines on the news.         It was never

25             reported to me by counsel that there were any issues.

26             But just what I read in the news.        And it may be that

27             there were no violations.       And that would be
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1              wonderful for everyone that’s involved.

2                    But clearly, Attorney Mead, you can look at the

3              statutes.    You’ll see if you’re not already familiar.

4              That there are separate statues because these are

5              such highly protected records.        If we’re talking

6              about sex abuse counseling records, there’s a statute

7              for that.    Domestic violence records, there’s a

8              statute for that.     Marital counseling records,

9              there’s a statute for that.       But since I don’t know

10             what records have been disclosed, I can’t list all

11             the statutes for you.      But I suggest you go pull the

12             volumes out and take a look, because there’s all

13             separate statues.     Psychological records has its own

14             statute.    Psychiatric records have its own statute.

15             So I think that you – that’s not something that we

16             need to discuss today.

17                   Any other issues?     Seeing none, we’re adjourned.

18     (The matter concluded.)

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                         C E R T I F I C A T I O N


       I hereby certify the foregoing pages are a true and correct
  transcription of the audio recording of the above-referenced
  case, heard in Superior Court, G.A. #4, Waterbury, Connecticut,
  before the Honorable Barbara Bellis, Judge, on the 10th day of
  August, 2022.




            Dated this 10th day of August, 2022 in Waterbury,
  Connecticut.




                                      _________________________
                                      Darlene Orsatti
                                      Court Recording Monitor
